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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOSEPH BASKINS,                         )
                                        )
      Plaintiff,                        )      Case No. 1:17-cv-07566
                                        )
      v.                                )      Hon. Edmond E. Chang
                                        )      District Judge
PATRICK GILMORE, MICHAEL R.             )
KELLY, MARC JAROCKI, Unknown            )
Chicago Police Department Employees,    )
and the CITY OF CHICAGO,                )
                                        )
      Defendants.                       )      JURY TRIAL DEMANDED


                           SECOND AMENDED COMPLAINT

      NOW COMES Plaintiff, JOSEPH BASKINS, by and through his attorneys

LOEVY & LOEVY, and complaining of Defendants PATRICK GILMORE,

MICHAEL R. KELLY, MARC JAROCKI, Unknown Chicago Police Department

Employees, and the CITY OF CHICAGO, states as follows:

                                  INTRODUCTION

      1.      On what should have been one of the happiest days of his life, Plaintiff

Joseph Baskins was instead subjected to a nightmare that would last three years.

      2.      On October 30, 2014, Baskins, his fiancée, and two friends went to the

Chicago City Hall. They were there for Baskins to get married.

      3.      At City Hall, Baskins had the misfortune of crossing paths with three

intoxicated and aggressive Chicago police officers who were on duty. Baskins, his

fiancée, and their friends shared an elevator with Officers Patrick Gilmore, Michael

Kelly, and Marc Jarocki.
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      4.     The Defendant Officers proceeded to subject Baskins, his fiancée, and

their wedding guests to verbal harassment, including racial abuse. They then

attacked Baskins without provocation.

      5.     In the altercation that followed, one officer drew his firearm, and had

it taken from him in the melee.

      6.     Baskins and his friends fled for their lives. Hours later, they found

themselves under arrest notwithstanding the fact that they had broken no laws.

      7.     Baskins was thereafter subjected to three years of false criminal

charges. It was not until July 2017 that the State dismissed these charges in a

manner indicative of Baskin’s innocence.

                            JURISDICTION AND VENUE

      8.     This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to

redress the Defendants’ tortious conduct and their deprivation of Plaintiff’s rights

secured by the U.S. Constitution.

      9.     This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331

and 1367.

      10.    Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this

judicial district; and the events giving rise to Plaintiff’s claims asserted herein all

occurred within this judicial district.

                                          PARTIES

      11.    Joseph E. Baskins is a 31-year-old man. He is currently a resident of

the state of Illinois. At the time of the attack, he lived in Indiana with his fiancée.



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      12.    Mr. Baskins is currently employed in construction and as a plumber.

He is the father of two children, and his partner is currently expecting.

      13.    Defendant Patrick Gilmore was a Sergeant with the Chicago Police

department employed by the City of Chicago. At all times relevant to the events

described in this Complaint, Gilmore was acting under color of law and within the

scope of his employment with the Chicago Police Department. He is no longer an

active member of the CPD; he has taken disability.

      14.    Defendant Michael R. Kelly is an officer with the Chicago Police

Department employed by the City of Chicago. At all times relevant to the events

described in this Complaint, Kelly was acting under color of law and within the

scope of his employment with the Chicago Police Department. Kelly is currently

suspended pending the outcome of an internal affairs investigation of his conduct in

connection with Joseph Baskins.

      15.    Defendant Marc Jarocki is or was an officer with the Chicago Police

Department employed by the City of Chicago. At all times relevant to the events

described in this Complaint, Jarocki was acting under color of law and within the

scope of his employment with the Chicago Police Department. Jarocki is currently

suspended pending the outcome of an internal affairs investigation of his conduct in

connection with Joseph Baskins.

      16.    Defendant(s) Unknown Chicago Police Department Employee(s)

participated in the misconduct alleged in this complaint. At all times relevant to the

events described in this Complaint, these Unknown Chicago Police Department



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Employees were acting under color of law and within the scope of their employment

with the Chicago Police Department.

      17.    Defendant City of Chicago is an Illinois municipal corporation that is

or was the employer of Defendant(s) Unidentified Chicago Police Department

Employee(s). The City of Chicago is liable for all torts committed by the

Unidentified Chicago Police Detective and Unidentified Chicago Police Officer

Defendants while employed by the City of Chicago pursuant to the doctrine of

respondeat superior. Defendant City of Chicago is additionally responsible for the

policies and practices of the Chicago Police Department.

                                        FACTS

                      The Would-be Wedding of Joseph Baskins

      18.    Plaintiff Joseph Baskins and his fiancée planned to travel to the

Chicago City Hall with friends to get married on October 30, 2014.

      19.    They were joined by Baskins’ cousin as well as his best friend, and his

baby (hereinafter “Plaintiff’s Wedding Party”).

      20.    When Plaintiff’s Wedding Party arrived at City Hall, they learned the

office they needed to go to was closed for lunch.

      21.    They boarded the elevator to the parking garage. Three white men

boarded the elevator with Plaintiff’s Wedding Party.

      22.    The men were later identified as CPD Officers Patrick Gilmore,

Michael R. Kelly, and Marc Jarocki (hereinafter “Defendant Officers”).

      23.    The Defendant Officers were in the building to meet with attorneys



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from the City of Chicago Law Department, Gail Reich and Kathryn Doi, regarding

another civil rights lawsuit.

      24.    On information and belief, Defendant Officers had also spent time in a

bar consuming alcohol.

      25.    On information and belief, a credit card receipt belonging to one of the

Defendant Officers shows a charge at the “Cactus Bar” for eight beers and six

vodkas the afternoon of October 30, 2014.

      26.    Defendant Officers consumed at least this much alcohol.

      27.    They were on duty at the time.

      28.    After boarding the elevator, one of the Defendant Officers said words

to Baskins to the effect of “you are on the wrong elevator,” and referred to a “black

nigger squad,” and made other racist statements.

      29.    Baskins asked the individual what he said, and another one of the

Defendant Officers responded, “You heard what he said.”

      30.    Once the elevator arrived at the garage, a tall officer punched Baskins

in the mouth without provocation.

      31.    On information and belief, this individual was Defendant Patrick

Gilmore.

      32.    Baskins defended himself, and Defendant Gilmore and he began to fist

fight before going to the ground and grappling.

      33.    At some point during the encounter, Defendant Gilmore pulled a gun

and pointed it at Baskins from behind.



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      34.    Baskins next heard his friend scream words to the effect of, “It’s a gun!

It’s a gun!” Baskins’ friend then kicked the gun away from Defendant Gilmore.

      35.    Baskins looked down and saw the gun. Fearing for the lives of his

family and friends if his assailants recovered the gun, he picked it up along with the

baby and ran.

                    The Defendant Officers’ False Version of Events

      36.    Defendant Gilmore and the other Defendant Officers claimed to have

smelled marijuana upon encountering Plaintiff’s Wedding Party. In reality, no

member of Plaintiff’s Wedding Party possessed marijuana or smelled like

marijuana.

      37.    The Defendant Officers have claimed that they were attempting to

arrest Baskins based on their belief he possessed marijuana.

      38.    The Defendant Officers then claimed that Baskins and his group were

the aggressors, and initiated criminal action against Baskins as a means of covering

up their actions.

                                    The Aftermath

      39.    On information and belief, the Defendant Officers returned to meet

with Reich and Doi immediately after their attack on Baskins.

      40.    On information and belief, either Reich or Doi offered the Defendant

Officers gum to hide the smell of alcohol on their breath.

      41.    After getting away from his attackers, Baskins immediately placed the

gun in his fiancée’s car. She owned the car. Baskins’ name was not on the



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registration.

         42.    Baskins and the remaining members of Plaintiff’s Wedding Party took

the CTA Red Line home. His fiancée drove her car with the baby separately. The

gun remained in the glovebox of her car.

         43.    While they were still traveling home, a friend of the family called

Baskins to ask about the fight after seeing his picture on the news.

         44.    Baskins arrived at the apartment first. His fiancée arrived between

thirty and forty-five minutes after Baskins. When she arrived, she left the gun in

her car.

         45.    Baskins decided to call a lawyer. After several phone calls, he was

unable to find affordable representation.

         46.    Baskins then called his friend, Lee Long, who was an officer of the

Dixmoor Police Department.

         47.    Long told him to come to him the next day to surrender. In the

meantime, long instructed Baskins to wrap the gun in a cloth and put it in a safe

place.

         48.    Throughout the several hours of discussion and phone calls, Baskins’

fiancée’s car was parked outside on the street with the gun in her glovebox.

         49.    As soon as Baskins talked with Long, he went to wrap the gun in a

sweater and two grocery bags. He placed it in the bushes outside of his home, away

from him and out of sight of anyone else.

         50.    Shortly thereafter, Lake County, Indiana Sheriff’s deputies arrived,



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screaming, “where’s the gun,” or words to that effect.

        51.   Baskins immediately told them where the gun was.

        52.   Baskins, his fiancée, and cousin were arrested without warrants by

Lake County deputies, but Baskins’ fiancée and cousin were released from the

station.

                         The Prosecution of Joseph Baskins

        53.   Baskins was detained for two weeks in Lake County, Indiana with no

bond on suspicion of aggravated robbery and aggravated assault on a police officer.

He was never charged with either offense.

        54.   Baskins was questioned by Lake County law enforcement during this

time.

        55.   Baskins was then transferred to Cook County. He spent the first two

days being questioned at the 1st district station at 18th and State.

        56.   He was then charged with unlawful possession of a firearm by a felon.

Bond was set at $25,000.

        57.   Three years of criminal proceedings followed.

        58.   During that period of time, his relationship with his fiancée had ended

and his current girlfriend was pregnant.

        59.   On June 26, 2017, Baskins appeared in court to request a trial date.

Trial was set for September 18, 2017.

        60.   Shortly after, the State offered Baskins a plea agreement calling for

him to spend one year in prison.



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      61.    Because he was innocent, Baskins rejected this offer.

      62.    The following Thursday, July 6, the State dropped the charges against

Baskins.

      63.    The State did so because the State could not prove that Baskins

committed any criminal acts.

      64.    On information and belief, in the years following the attack, Defendant

Gilmore has taken disability and left the CPD.

      65.    On information and belief, Defendant Gilmore has claimed he suffered

brain damage during the incident.

      66.    On information and belief, he remembers acting in the course of his

duty as a law enforcement official.

      67.    On information and belief, Defendant Gilmore claims not to remember

the details of his pre-attack activities, including his time drinking with the other

Defendant Officers at the “Cactus Bar.”

       68.   On information and belief, Officer Jarocki is currently on

administrative leave pending an investigation of his conduct in this matter.

       69.   On information and belief, Officer Kelly is currently on administrative

leave pending an investigation of his conduct in this matter.

      70.    On information and belief, Attorneys Reich and Doi resigned their

positions following a Chicago Inspector General investigation of their conduct

related to this matter.

      71.    As a result of Defendants’ actions, Joseph Baskins lost his fiancée, his



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home, and had years of his life ruined by the shadow of these false allegations.

            City of Chicago’s Negligent Retention, Supervision and Training

      72.     At the time of this occurrence (in 2014), Defendant Gilmore had

received a total of 40 citizen complaints; Defendant Jarocki had received a total of

31 citizen complaints; Defendant Kelly had received a total of 20 citizen complaints.

All of the Defendants were alleged to have neglected their duties, used racial and

ethnic profanities towards citizens, and engaged in the use of excessive force

numerous times throughout their careers.

      73.     Based on the City’s own data, Defendant Gilmore was accused in more

civilian complaints per year than 98% of other officers, since the year 2000.

Defendant Gilmore was further accused in more use of force complaints than 95% of

other officers, since the year 2004.

      74.     By its own reporting procedures, Defendant City of Chicago was put on

notice each and every time a citizen filed a complaint or civil lawsuit against the

Individual Defendants, but failed to appropriately take steps to investigate the

misconduct or provide additional targeted training and /or supervision following

each alleged incident. In fact, Defendant Gilmore was promoted to a supervisory

position despite his checkered background, and was the supervisor of Defendants

Jarocki and Kelly at the time of the incident with Plaintiff.

      75.     Due to the City’s knowledge of the Defendant Officers’ history of

misconduct and lack of supervision or training following each instance of

misconduct, it was foreseeable that their misconduct would continue unabated, as it



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did when they initiated an unprovoked attack against Plaintiff.

      76.    The City of Chicago violated its own standards in retaining,

supervising or training Defendants Gilmore, Jarocki and Kelly.

                             COUNT I – 42 U.S.C. § 1983
                            Federal Malicious Prosecution

      77.    Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      78.    In the manner described above, Defendants, acting as investigators,

individually, jointly, and in conspiracy with one another, as well as under color of

law and within the scope of their employment, accused Plaintiff of criminal activity

and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so and in spite of the fact that

they knew Plaintiff was innocent, in violation of his rights secured by the Fourth

and Fourteenth Amendments of the United States Constitution.

      79.    In doing so, these Defendants caused Plaintiff to be subjected

improperly to judicial proceedings for which there was no probable cause. These

judicial proceedings were instituted and continued maliciously, resulting in injury.

      80.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      81.    As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and


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damages as set forth above.

      82.    Plaintiff’s injuries were caused by employees of the City of Chicago,

who acted pursuant to the policies and practices of the Chicago Police Department

described in more detail below.

                            COUNT II – 42 U.S.C. § 1983
                     Conspiracy to Deprive Constitutional Rights

      83.    Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      84.    After the attack on Baskins and his family, the Defendant Officers,

acting in concert with other co-conspirators, known and unknown, reached an

agreement among themselves to frame Plaintiff for a crime he did not commit and

thereby to deprive him of his constitutional rights, all as described in the various

paragraphs of this Complaint.

      85.    In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      86.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      87.    Pursuant to the agreement described in this Count, Defendants did

conceal, obscure, and destroy physical and documentary evidence relating to the

attack on Baskins. This evidence concealed by Defendants includes, but is in no way

limited to, the fact of Gilmore, Kelly and Jarocki’s intoxication, and evidence of their

unprovoked assault of Joseph Baskins. On information and belief, Defendants failed


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to disclose security camera footage that would have proved Baskins’ innocence.

      88.    The actions of Defendants described in this Count deprived Plaintiff of

his constitutional rights, including, but not limited to, his right to due process.

      89.    As a result of Defendants misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      90.    Plaintiff’s injuries were caused by employees of the City of Chicago,

who acted pursuant to the policies and practices of the Chicago Police Department

described in more detail below.

                              COUNT III – 42 U.S.C. § 1983
                        Violation of Plaintiff’s Due Process Rights

      91.    As described above, during the constitutional violations described

herein, one or more of the Defendants stood by without intervening to prevent the

violation of Plaintiff’s constitutional rights, even though they had the duty and the

opportunity to do so.

      92.    Further, Defendants withheld, suppressed and fabricated evidence,

thereby misleading and misdirecting the criminal prosecution of Plaintiff.

      93.    The Defendant Officers’ misconduct resulted directly in the prolonged

and unjust criminal prosecution of Plaintiff, thereby denying his constitutional

rights. Absent this misconduct, the prosecution of Plaintiff could not and would not

have been pursued.

      94.    As a result of the Defendants’ misconduct, and failure to intervene to


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prevent the violation of Plaintiff’s constitutional rights, Plaintiff suffered pain and

injury, as well as emotional distress. These Defendants had ample, reasonable

opportunities as well as the duty to prevent this harm, but failed to do so.

        95.    The misconduct described in this Count was objectively unreasonable,

and was undertaken and committed intentionally.

        96.    As a result of Defendants misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical

and emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

        97.    Plaintiff’s injuries were caused by employees of the City of Chicago,

who acted pursuant to the policies and practices of the Chicago Police Department

described in more detail below.

                             COUNT IV– 42 U.S.C. § 1983
                     Policies and Practices of the City of Chicago 1

        98.    The constitutional violations at issue in this case were caused by the

official policies of the City of Chicago, which were implemented by its employees,

including the named Defendants. The City of Chicago failed to promulgate express

policies, allowed widespread practices and customs to persist, and took actions



1 Plaintiff understands the Court’s decision in Docket No. 94, but because the Court’s
dismissal of portions of Plaintiff’s Monell theory is over Plaintiff’s objection, see Dkt. 49,
Plaintiff re-alleges all theories of his Monell claim in his Second Amended Complaint, in an
abundance of caution, to preserve the issue for appeal. See Johnson v. Myers, 109 Fed.
App’x 792 at *4 (2004) (explaining that the Seventh Circuit has not yet decided whether a
party must “formalistically replead a dismissed claim in an amended complaint”). Plaintiff
regrets that this action is necessary but his acknowledgement that the Court has already
rejected portions of this claim obviates the need to re-brief motions to dismiss on the Monell
claim.

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through its final policymakers, which resulted in the violation of Plaintiff’s rights at

issue here.

      99.     In particular, the City of Chicago failed to promulgate proper or

adequate rules, regulations, policies, and procedures regarding: (a) use of force

against citizens by the Chicago Police Department; (b) the arrest and charging of

citizens by the Chicago Police Department, including the disclosure of evidence in

criminal proceedings; and (c) the training, supervision, and discipline of Chicago

Police Officers.

      100.    These failures to promulgate proper or adequate rules, regulations,

policies, and procedures were committed by policymaking officials for the City of

Chicago and the Chicago Police Department.

      101.    These failures to promulgate proper or adequate rules, regulations,

policies, and procedures caused routine violations of the constitutional rights of

citizens of the City of Chicago, including Plaintiff’s constitutional rights.

      102.    In addition, at all times relevant to the events described in this

Complaint and for a period of time prior thereto, the City of Chicago had notice of

widespread practices and customs of Chicago Police Officers under which: (a)

unjustified and excessive force was used against citizens by members of the Chicago

Police Department; (b) citizens were arrested for, charged with, and prosecuted for

crimes by members of the Chicago Police Department without probable cause, based

on false evidence, and without being provided exculpatory evidence in the

possession of the Chicago Police Department.



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      103.   Specifically, Chicago Police Officers routinely: (a) used deadly and non-

deadly force against citizens, engaged in beatings of citizens, deployed firearms and

other weapons against citizens, and otherwise effected seizures without any

justification for doing so and without any threat to the officers using force or to

others; and (b) arrested, charged, and caused citizens to be prosecuted, while

knowing that there was no probable cause to suspect citizens of the offenses in

question, by inventing false evidence to inculpate innocent individuals, by making

false police reports that falsely reported the circumstances of a crime or

investigation, by suppressing evidence relating to the offense, including witness

statements, and by providing false statements to other law enforcement,

prosecuting, and judicial authorities.

      104.   Policymaking officials had notice of these widespread practices and

customs of the City of Chicago and failed to take action in response.

      105.   These widespread practices and customs of the City of Chicago

resulted in routine violations of the constitutional rights of citizens of the City of

Chicago, including Plaintiff’s constitutional rights.

      106.   Evidence of the City of Chicago’s widespread practice and custom of

using excessive force against citizens without justification, and the City of Chicago’s

notice of that practice, is voluminous in the timeframe relevant to the events at

issue in this case. Among other things:

          a. In January 2017, the Department of Justice released an extensive

             report into Chicago Police Department’s routine violations of civil



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           rights. On the subject of excessive force, the report stated: “Although a

           specific number of incidents and statistical evidence is not required,

           our investigation found that CPD officers use unnecessary and

           unreasonable force in violation of the Constitution with frequency and

           that unconstitutional force has been historically tolerated by CPD.

           This finding is based on a comprehensive investigation of CPD’s force

           practices.” Department of Justice, Investigation of the Chicago Police

           Department, p. 23 (Jan 13, 2017).

       b. The report identified dozens of examples of the Chicago Police

           Department’s use of excessive force.

              i. “In one case, a man had been walking down a residential street

                 with a friend when officers drove up, shined a light on him, and

                 ordered him to freeze, because he had been fidgeting with his

                 waistband. The man ran. Three officers gave chase and began

                 shooting as they ran. In total, the officers fired 45 rounds,

                 including 28 rifle rounds, toward the man. Several rounds

                 struck the man, killing him. The officers claimed the man fired

                 at them during the pursuit. Officers found no gun on the man.”

                 Id. at 25.

              ii. “In another case, a CPD officer chased and shot a man. The

                 officer later claimed that during pursuit she ordered the man to

                 stop, at which point the man turned and raised his right arm



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                 towards her. According to the officer, the man had pointed a gun

                 at her earlier in the incident and, fearing he was doing so now,

                 she fired. The only gunshot wounds were to the man’s buttocks.

                 No weapon was found on the man, but a gun was found on a

                 nearby roof gutter. IPRA found the shooting justified without

                 accounting for the wounds to the man’s backside.” Id.

             iii. “In another case, a CPD officer chased a man who ran when an

                 officer told him to stop, and then shot the man in the back of the

                 leg. The officer claimed the man had turned to point a gun. After

                 a thorough search of the scene, no gun was recovered. The man,

                 who denied ever turning to face the officer, was found only with

                 a cell phone.” Id.

             iv. “In another case, a CPD officer fatally shot a fleeing, unarmed

                 suspect in the back. The officer told investigators the suspect

                 had turned around to point a black object. This account did not

                 square with the location of the shooting victim’s gunshot wounds

                 and appeared contrary to video footage that showed the suspect

                 running away from the officer. Again, IPRA accepted the

                 officer’s account, despite the conflicting evidence. IPRA’s final

                 report of the incident did not mention the existence of the video.”

                 Id.




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              v. “In another case, video evidence showed the tragic end of a foot

                 pursuit of a man who was not a threat when an officer shot him

                 in the back. The officer, who fired 16 shots, killing the man,

                 claimed on his force report that the man was armed and the

                 man ‘charged [him] with apparent firearm.’ The officer shot the

                 man during the foot pursuit, and dashboard-camera footage

                 showed that as the unarmed man lay on the ground, the officer

                 fired three shots into his back. CPD stripped the officer of his

                 police powers after this shooting—his third that year—and the

                 City paid the man's family $4.1 million in settlement.” Id.

             vi. “In another case, an off-duty CPD officer spotted the silhouette

                 of a man in a vacant building and suspected the man was

                 burglarizing it. The officer called 911, but did not wait for other

                 officers to arrive. Instead, the off-duty officer summoned the

                 man out of the building. According to a civilian witness, the

                 burglary suspect angrily exited the building, yelling, ‘You’re not

                 a fucking cop.’ The suspect then advanced on the officer, who

                 struck and kicked the suspect. According to the officer, the

                 suspect then reached into his waistband and withdrew a shiny

                 object, prompting the officer to fire twice, killing the man. No

                 weapon was recovered. Instead, officers reported finding a silver

                 watch near the man’s body. IPRA found the shooting justified



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                 without addressing the officer's failure to await backup.

                 According to press reports, in November 2016, this same officer

                 shot a man in the back and killed him, claiming the man had

                 pointed a gun at him during a foot pursuit. No gun was

                 recovered.” Id. at 28.

            vii. “Officers used a Taser in ‘drive-stun mode’ against a woman in

                 mental health crisis and whose only documented actions were

                 that she failed to follow verbal commands and that she stiffened.

                 Officers provided no narrative of the encounter other than to

                 write that the woman was ‘a high risk mental’ who needed to be

                 transported to a hospital for a ‘mental evaluation.’ They noted

                 on the form that the woman was engaged in passive, not active,

                 resistance.” Id. at 32.

            viii. “In an incident we reviewed, a man died after hitting his head

                 when he fell while fleeing because a CPD officer shot him with a

                 Taser. The man had been suspected only of petty theft from a

                 retail store. IPRA deemed this use of a Taser justified.” Id.

             ix. “In one incident, officers hit a 16-year-old girl with a baton and

                 then Tasered her after she was asked to leave the school for

                 having a cell phone in violation of school rules. Officers were

                 called in to arrest her for trespassing. Officers claimed the force

                 was justified because she flailed her arms when they tried to



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                 arrest her, with no adequate explanation for how such flailing

                 met the criteria for use of a Taser. This was not an isolated

                 incident. We also reviewed incidents in which officer’s

                 unnecessarily drive-stunned students to break up fights,

                 including one use of a Taser in drive-stun mode against a 14-

                 year-old girl. There was no indication in these files that these

                 students’ conduct warranted use of the Taser instead of a less

                 serious application of force.” Id.

              x. “In one incident, an officer’s neighbor called to report that some

                 boys were playing basketball on the officer’s property. The

                 officer, on duty, left his district to respond and found the teenage

                 boys down the street on their bikes. The officer pointed his gun

                 at them, used profanity, and threatened to put their heads

                 through a wall and to blow up their homes. The boys claim that

                 the officer forced them to kneel and lay face-down, handcuffed

                 together, leaving visible injuries on their knees and wrists. Once

                 released, one boy called his mother crying to tell her an officer

                 had pointed a gun at his face; another boy went home and

                 showed his mother his scraped leg and, visibly upset, said ‘the

                 police did this to me.’ The mothers reported the incident to

                 IPRA. The officer, who had not reported the use of force,

                 accepted a finding of ‘sustained’ and received a five-day



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                 suspension. The officer was never interviewed and his reasons

                 for not contesting the allegations are not documented in the

                 file.” Id. at 33-34.

             xi. “In another case, an officer forcibly handcuffed a 12-year-old

                 Latino boy who was outside riding a bike under his father’s

                 supervision. A plainclothes officer, responding to a report of ‘two

                 male Hispanics running from’ the area, detained the boy.

                 According to the boy and his father, the officer approached the

                 boy, ordered him to stop his bike, forcibly handcuffed him,

                 pulled him off his bike, and placed him up against a fence. The

                 boy reported he did not understand the man was a police officer

                 or why he was being detained and told the officer he was only

                 12.” Id.

            xii. “In one incident captured on cell-phone video, an officer

                 breaking up a party approached a man, grabbed him by the

                 shirt, and hit him in the head with a baton. In his reports, the

                 officer, using language very similar to that used in many other

                 reports we reviewed, falsely claimed that the victim had tried to

                 punch him. Before the video surfaced, the officer’s supervisor

                 had approved the use of force and the victim had pled guilty to

                 resisting arrest. The officer has since been relieved of his police

                 powers and is facing criminal charges for his conduct.” Id. at 35.



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            xiii. “In another video, a woman exited her car and placed her hands

                 on her vehicle when officers threw her to the ground, hit her,

                 and deployed a Taser against her. The video indicates that the

                 officer’s claim that she had refused to show her hands, thus

                 justifying the force used, was false. Despite the existence of the

                 video, IPRA deemed the force reasonable.” Id.

            xiv. “In one incident, for example, officers justified unreasonable

                 force by falsely claiming in their reports that a woman had

                 attacked them. In the video, officers can be seen aggressively

                 grabbing the woman, who was being arrested for a prostitution

                 offense, throwing her to the ground, and surrounding her. After

                 she is handcuffed, one officer tells another to ‘taser her ten

                 fucking times.’ Officers call her an animal, threaten to kill her

                 and her family, and scream, ‘I’ll put you in a UPS box and send

                 you back to wherever the fuck you came from’ while hitting the

                 woman—who was handcuffed and on her knees. Officers can

                 then be seen discovering a recording device and discussing

                 whether they can take it. Supervisors approved this use of force

                 and the officers were not disciplined until after the woman

                 complained to IPRA and produced surveillance video of the

                 event. The City paid the woman $150,000 in settlement of her

                 lawsuit.” Id.



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       c. Between 2010 and 2016, CPD officers were involved in at least 203

           shootings of citizens.

       d. During that same time, The DOJ report estimated at least 425

           complaints of non-lethal force against Chicago Police Department

           Officers.

       e. In addition to the above noted examples, there are substantial

           instances of excessive force that have led to jury verdicts or

           settlements against the city.

              i. In 2007, Aaron Harrison was shot and killed by Chicago Police

                 officers when he ran from a squad car as it pulled up near him.

                 Harrison v. City of Chicago, No. 07 CV 8493. (N.D. Ill.) The City

                 of Chicago settled the case for $8,506,616.

              ii. In 2011, Chicago Police Officer Stevan Vidljinovic deployed a

                 Taser against Jose Lopez. Lopez had been receiving medical

                 treatment when officers arrived. After being hit with the Taser,

                 Lopez hit fell to the ground and suffered significant and lasting

                 injuries. In 2017, a federal jury concluded Vidljinovic used

                 excessive force. The City of Chicago later agreed to a $9,500,000

                 settlement. Lopez v. City of Chicago, No. 12 CV 5751. (N.D. Ill.).

             iii. In 2013, Officer Marco Pronao fired 16 shots into a car full of

                 teenagers, injuring two. The Chicago Police Department

                 determined at the time the shooting was justified. In August of



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                 2017, Officer Pronao was convicted by a federal criminal jury of

                 several civil rights abuses and excessive force. United States of

                 America v. Marco Pronao, 16 CR 00590. (N.D. Ill.) On

                 information and belief, the city is in the process of terminating

                 Pronao.

             iv. In 2014, Levail Smith, a disabled combat veteran, was

                 approached by police for holding a beer on the street. In fear,

                 Smith fled and was chased by several officers. A Chicago Police

                 officer shot Smith several times. The City of Chicago agreed to

                 settle the case for $450,000. Smith v. City of Chicago, No. 15 CV

                 5898. (N.D. Ill.).

              v. In 2014, Chicago Police Officer Jason Van Dyke shot Laquan

                 McDonald 16 times as McDonald walked away. Van Dyke was

                 initially cleared of wrong-doing by Chicago Police Department.

                 In April of 2015, The City of Chicago agreed to a $5,000,000

                 settlement with the McDonald family before a lawsuit could be

                 filed. Subsequently, Van Dyke has been charged with murder,

                 and three officers have been charged with conspiring to obstruct

                 justice and cover up any related misconduct.

             vi. In December 2017, COPA recommended the termination of a

                 Chicago Police Department officer for the unjustified use of force

                 against Quintonio LeGrier and Bettie Jones in 2015. Officers



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                    responding to a mental health call shot LeGrier several times,

                    killing Jones as well. Officers later misrepresented the

                    circumstances of the shooting. Chicago Police Department had

                    previously closed the investigation without seeking criminal

                    charges.

         f. In the past decade, the City of Chicago has approved hundreds of

             millions of dollars in settlements in cases based on the Chicago Police

             Department’s unjustified uses of excessive force.

      107.   Evidence of the City of Chicago’s widespread practice and custom of

subjecting citizens to arrest, charges, and prosecution without probable cause, based

on false evidence, and without disclosure of exculpatory evidence is similarly

widespread. Among other things:

         a. Starting in the 1980s, the Chicago Reporter found that tens of

             thousands of citizens were arrested in Chicago neighborhoods in cases

             that almost never resulted in a conviction because Chicago Police

             Officers would not show up in court to defend the arrest. The American

             Civil Liberties Union challenged this pattern and practice of illegal

             arrests in the lawsuit Michael Nelson v. City of Chicago, 83 C 1168

             (N.D. Ill.).

         b. In the 1990s, the pattern of illegal seizures continued with the City’s

             so-called “gang loitering ordinance,” under which thousands of citizens

             were arrested without justification. The Supreme Court later declared



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           the practice unconstitutional in City of Chicago v. Morales, 527 U.S. 41

           (1999).

       c. In the 2000s, illegal seizures by the Chicago Police Department

           remained common. In 2003, the American Civil Liberties Union again

           filed suit, this time on behalf of Olympic Gold medalist Shani Davis

           and others, alleging illegal seizures by Chicago Police officers. Davis v.

           City of Chicago, 219 F.R.D. 593 (N.D. Ill. 2004) (No. 03 C 2094), 2003

           WL 23800673.

       d. In April 2016, the Chicago Police Accountability Task Force confirmed

           that searches and seizures of African-Americans like Plaintiff occurred

           at much higher rates than searches and seizures of the rest of the

           population.

       e. In the past decade, the City has litigated and lost dozens of civil rights

           lawsuits contending that arrests, prosecutions, and convictions were

           secured without probable cause, based on false evidence, and/or

           because material exculpatory evidence was suppressed, including:

              i. In 2006, the city of Chicago agreed to a $2,000,000 settlement

                 with Eric Kittler. Kittler v. City of Chicago, No. 03 CV 06992

                 (N.D. Ill.). Kittler was wrongfully convicted of murder and spent

                 five years in prison before being acquitted after retrial. His

                 conviction was obtained when Chicago Police Officers forced a




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                 false confession from him, and concealed and altered records to

                 cover up his actual innocence.

             ii. In 2007, the City of Chicago agreed to a $20,000,000 settlement

                 with Madison Hobley, Aaron Patterson, Leroy Orange and

                 Stanley Howard based on their wrongful convictions. The four

                 men were all wrongfully convicted after being tortured by John

                 Burge. They were pardoned in 2003.

             iii. Also in 2007, a federal jury awarded Timothy Finwall

                 $2,000,000 against the City of Chicago for his wrongful arrest.

                 Finwall v. City of Chicago, No. 04 CV 4663 (N.D. Ill.). Finwall

                 was wrongfully arrested for attempted kidnapping, after officers

                 misreported the results of a lineup to falsely reflect the victim

                 picked Finwall.

             iv. In 2009, a federal jury awarded $21,000,000 in damages to Juan

                 Johnson against the City of Chicago. Johnson v. City of Chicago,

                 No. 05 CV 1042 (N.D. Ill.). Johnson was wrongfully convicted of

                 murder, and spent 15 years in prison as the result of fabricated

                 evidence.

              v. In 2013, the City of Chicago agreed to a $10,250,000 settlement

                 with Alton Logan, Logan v. City of Chicago, No. 09 CV 5471

                 (N.D. Ill.). Logan had been wrongfully convicted of a 1982

                 murder, a crime he did not commit. His conviction was obtained



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                 when Chicago Police Officers including John Burge concealed

                 and withheld exculpatory evidence.

             vi. Also in 2013, Eric Caine reached a $10,000,000 settlement with

                 the City of Chicago. Caine v. City of Chicago, No. 11 CV 08996

                 (N.D. Ill.). Caine was wrongfully convicted of double murder

                 after officers working for Jon Burge tortured him into a false

                 confession.

            vii. In 2017, the City of Chicago approved a $30,999,000 settlement

                 with Michael Saunders, Vincent Thames, Harold Richardson

                 and Terrill Swift, the so called “Englewood 4.” Each man spent

                 around 15 years in prison for a rape and murder they did not

                 commit. They were convicted based on coerced confessions, and

                 only freed when DNA evidence established the identity of the

                 actual killer.

            viii. In December 2016, a jury in Fields v. City of Chicago, No. 10 C

                 1168 (N.D. Ill.), found that the Chicago Police Department

                 maintained a policy and practice of suppressing material

                 exculpatory evidence in secret files for decades, awarding Fields

                 who was wrongly convicted as a result of the policy more than

                 $21,000,000.

             ix. In 2017, a federal jury awarded Deon Patrick more than

                 $13,000,000 for the 25 years he spent in prison after being



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                   wrongfully convicted of murder. Patrick v. City of Chicago, No.

                   14 CV 3658 (N.D. Ill.). Patrick was tortured, coerced into

                   confessing, and faced a case built on evidence fabricated by

                   police.

         f. These examples demonstrate that the Chicago Police Department’s

            pattern and practice of falsely arresting, prosecuting, and convicting

            citizens, and particularly African-American citizens, is longstanding

            and widespread.

         g. Many of these illegal arrests, prosecutions, and convictions have

            resulted in settlements approved by the City of Chicago. Between 2008

            and 2016, for example, the City paid judgments and settlements in a

            minimum of 700 false arrest cases, paying tens of millions of dollars to

            citizens whose constitutional rights had been violated by Chicago

            Police officers.

      108. In addition to the widespread practices discussed above, the violations

of Plaintiff’s constitutional rights were also caused by the City’s failure to

adequately train, supervise, and discipline its officers. At all relevant times and for

a period of time prior thereto: (a) Chicago Police Officers were permitted to use

force without proper training, supervision, or discipline by supervisors in the

Chicago Police Department who had knowledge of what constituted permissible

and impermissible uses of force; (b) Chicago Police Officers were permitted to

arrest, charge, and prosecute citizens without proper training, supervision, or



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discipline by supervisors in the Chicago Police Department with knowledge of what

constituted permissible basis for criminal charges and how evidence should be

collected, maintained, and transmitted to the criminal justice system, among other

subjects; and (c) employees of the Chicago Police Department formally and

informally adhered to a “code of silence,” whereby Chicago Police Officers, their

supervisors, and other employees of the City of Chicago agreed explicitly and

implicitly not to report misconduct committed by employees of the Chicago Police

Department, creating an environment of lawlessness, without discipline, where

employees of the Chicago Police Department engaged in misconduct without fear of

reprisal.

      109. The widespread practices and customs of the City of Chicago described

above are themselves evidence of the City’s failure to train, supervise, and

discipline Chicago Police Officers.

      110. In addition, in March 2015, the American Civil Liberties Union found

that Chicago Police officers were hardly ever trained to conduct seizures after their

initial training at the police academy. The American Civil Liberties Union also

found that there was no evidence that Chicago Police seizures were being

supervised by responsible Chicago Police supervisors.

      111. The U.S. Department of Justice’s recent report likewise found that

there were “engrained deficiencies in the systems CPD uses to provide officers with

supervision and training.” In particular, on the subject of training, the DOJ

concluded that the “CPD’s inattention to training needs, including a longstanding



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failure to invest in the resources, facilities, staffing, and planning required to train

a department of approximately 12,000 members, leaves officers underprepared to

police effectively and lawfully. Officer errors and misconceptions that result from

lack of training are not corrected in the field, because CPD has neither structured

supervision in a way that will adequately support officers, nor invested in

programs and systems that will detect when officers are in need of help or

exhibiting behavior that must be corrected. Officers’ ability to stay safe, protect

public safety, and police within constitutional standards suffers as a result.” DOJ

Report, at 93-94.

      112. On the subject of supervision, the DOJ concluded among other things

that “[I]instead of encouraging the chain of command to instill proper policing

tactics and respect for constitutional policing in CPD officers, CPD provides little

incentive, or even opportunity, for supervisors to meaningfully guide and direct

CPD officers. CPD provides even less incentive for supervisors to hold officers

accountable when they deviate from CPD policy and the law. The City has long

known that CPD’s direct supervision of officers is inadequate, including through

the fact that multiple reports in the last two decades have highlighted deficiencies

in CPD’s supervisory practices. Yet, City and CPD leadership have not made the

necessary reforms to CPD’s supervision structure and processes, and community

and officer safety suffers as a result.” DOJ Report, at 105.




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        113. The failure of police supervision and discipline in the City of Chicago

during the relevant time period, and the persistence of a code of silence, has been

admitted by City policymakers and by Chicago Police Officers:

            a. The Mayor of the City of Chicago has acknowledged that a “code of

               silence” exists within the Chicago Police Department.

            b. In December 2016, the President of the police officers’ union in Chicago

               admitted that there is a “code of silence” in the Chicago Police

               Department.

            c. In 2017, the U.S. Department of Justice found that current officers of

               the CPD and former high-level officials of the CPD acknowledged a

               “code of silence.”

       114.    In addition, federal juries have found that the Chicago Police

Department maintains a code of silence and fails to supervise and discipline its

employees. Each of the following illustrative cases resulted a significant judgment

that put the City of Chicago on notice of its failure to supervise and discipline

officers:

            a. In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill.), a federal

               jury found that as of 1994 the Chicago Police Department maintained

               a code of silence that facilitated misconduct committed by officer

               Miedzianowski, who is now serving a life sentence in federal prison.

            b. In the case of Obrycka v. City of Chicago et al., No. 07 C 2372 (N.D.

               Ill.), a federal jury found that as of February 2007, “The City [of



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           Chicago] had a widespread custom and/or practice of failing to

           investigate and/or discipline its officers and/or code of silence.”

       c. In 2017, a federal jury in Laporta v. Chicago, No. 14 C 9665 (N.D. Ill.),

           found the City of Chicago maintained a policy of failing to supervise

           and discipline officers, awarding $44,700,000 in damages against the

           City of Chicago based in part on the widespread failure to discipline

           officers. Defendant Officer Patrick Kelly used his service weapon to

           shoot a friend in the head. Kelly was named in dozens of complaints,

           and had multiple arrests and a record of alcohol-based misconduct.

           Additionally, he had been named as a civil defendant six times. Kelly

           was not charged by prosecutors for the shooting.

       d. Also in 2017, the City of Chicago agreed to a $20,000,000 settlement in

           a lawsuit alleging the City’s de facto policy of a code of silence enabled

           officer Joseph Frugoli. Manzera v. Frugoli, No. 13 CV 05626 (N.D. Ill.).

           Frugoli killed a person while he was driving drunk. The Chicago Police

           Department hid evidence of Officer Frugoli’s part in the death, as well

           as his past record of alcohol based misconduct.

       e. The same constitutionally defective oversight system in place during

           the time periods at issue in the Klipfel case and in the Obrycka case

           were in place between 2014 and 2017, when Plaintiff suffered the

           abuse described above.




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      115.   The City of Chicago has long been aware that its supervision and

discipline of police officers is inadequate. Nonetheless, it has taken no action to

ensure that police officers who commit misconduct are disciplined.

      116.   The U.S. Department of Justice has found, “Chicago seldom holds

officers accountable for misconduct.” DOJ Report, at 46.

      117.   In the last seven years, when a citizen makes a complaint against a

Chicago Police Officer, the Chicago Police Department sides with the officer and

against the complainant 98% of the time. This one-sidedness extends to officers who

fabricate or manipulate evidence in violation of Chicago Police Department Rule 14.

In its report, the U.S. Department of Justice concluded: “[O]ur investigation found

that IPRA and BIA treat such efforts to hide evidence as ancillary and

unexceptional misconduct, and often do not investigate it, causing officers to believe

there is not much to lose if they lie to cover up misconduct. Investigators employ a

higher standard to sustain claims against officers for making false statements

under what is known as a Rule 14 charge and they rarely expand their

investigations to charge accused and witness officers with lying to cover up

misconduct. Nor, until recently, has the City focused much attention on officers’

efforts to conceal by mishandling video and audio equipment or by retaliating

against civilians who witness misconduct.” DOJ report, at 8.

      118.   Even where a citizen complaint is sustained against an officer and

upheld by the police board, there is a significant chance the officer will never face

discipline. A recent investigative report showed that since 2010, when an officer



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challenged discipline by grievance, their discipline was reduced or reversed

altogether 85% of the time. These reductions have included the expunging of rule 14

violations.

      119.    Serious abuses by Chicago Police Officers go entirely undisciplined by

supervisors in the Chicago Police Department and policymakers in the City of

Chicago. For example, in 2001, Chicago Police Officer Joseph Miedzianowski was

convicted of several corruption charges. The Chicago Police Department ignored

dozens of complaints against him. In 2011, Chicago Police Officer Jerome Finnigan

was convicted of myriad corruption and misconduct charges. He, too, was not timely

disciplined by the City of Chicago. In 2013, Chicago Police Sergeant Ronald Watts

pleaded guilty to several federal corruption charges. The after effects of Watts’s

crimes are still being felt. In November 2017, fifteen people had their convictions

vacated in Cook County as a result of Watts’s misconduct. Watts also was not

meaningfully disciplined by the City of Chicago. For decades, Chicago Police

Officers Jon Burge and Reynaldo Guevara secured the wrongful conviction of

numerous African-American and Latino men through the use of torture, physical

violence, and other extreme investigative misconduct. Their misconduct alone has

led to millions of dollars of liability for the City of Chicago. Burge was convicted of

federal crimes. These officers, too, were never timely or meaningfully disciplined by

the City of Chicago.

      120.    Defendant Sergeant Gilmore has been the subject of at least 14

complaints, including CR #1042663, in which he was alleged to have lost control of



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an arrestee and failed to notify anyone that the arrestee had escaped. Defendant

Gilmore was further alleged to have used excessive force, threatening language and

racial slurs prior to the arrestee escaping. In addition, Gilmore has been named as a

defendant in at least three misconduct cases settled by the City of Chicago—two of

them for excessive force. On information and belief, Defendant Gilmore has never

been disciplined.

      121.   Defendant Jarocki has been the subject of several complaints,

including #1067963, which alleged Jarocki used excessive force. The victim fled

after being questioned; Jarocki hit him with his vehicle and then slammed his head

against the ground. In addition, Jarocki has been named as a defendant in at least

two misconduct cases settled by the City of Chicago—one of them for excessive

force. On information and belief, Defendant Jarocki has never been disciplined.

      122.   In addition, Defendants Gilmore, Jarocki, and Kelly were the three

defendants in a civil rights lawsuit, Haddnot v. Kelly, No. 00 C 6754 (N.D. Ill.). The

complaint alleged that the three violated the Plaintiff’s constitutional rights. The

City of Chicago settled that case for $200,000.

      123.   On information and belief, Defendant Kelly has never been disciplined.

      124.   The City of Chicago has never implemented substantive measures to

address the obvious deficiencies in its training, supervision, and discipline of

Chicago Police Officers.

      125.   Between 2004 and 2016, the City paid more than $500 million to settle

or pay judgements in police misconduct cases, without even conducting disciplinary



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investigations in more than half of the cases, and while recommending discipline in

fewer than 4% of those cases.

      126.   The U.S. Department of Justice “confirmed that CPD’s accountability

systems are broadly ineffective at deterring or detecting misconduct, and at holding

officers accountable when they violate the law or CPD policy.” In particular, the

Department of Justice found that the City failed to investigate nearly half of

misconduct complaints; where investigations did occur, there were “consistent

patterns of egregious investigative deficiencies”; and where misconduct complaints

are sustained, discipline was inconsistent and unpredictable. DOJ Report, at 46.

      127.   Similarly, the Chicago Police Accountability Task Force reported in

April 2016 that “[g]oing back years, and continuing to the present day, CPD has

missed opportunities to make accountability an organizational priority.”

      128.   Between 2011 and 2015, nearly half of complaints filed against police

officers were not even investigated.

      129.   All of the above widespread practices and customs, individually and/or

together, were allowed to flourish because the leaders, supervisors, and

policymakers of the City of Chicago directly encouraged, allowed, acquiesced in,

and/or turned a blind eye to the very type of misconduct discussed above, by failing

to adequately train, supervise, and control Chicago Police Officers, by failing to

promulgate policies, and by failing to adequately punish and discipline prior

instances of similar misconduct, thus directly encouraging future abuses, such as

those affecting Plaintiff.



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       130.   The above-described widespread practices, so well-settled as to

constitute de facto policy within the Chicago Police Department, were able to exist

and thrive because policymakers, acting under color of law with authority over the

same, exhibited deliberate indifference to the problem, thereby effectively ratifying

it.

       131.   Finally, based upon information and belief, individuals with final

policymaking authority for the City of Chicago were directly and indirectly involved

in the violation of Plaintiff’s rights.

       132.   In particular, attorneys with the City of Chicago’s Officer of the

Corporation Counsel, who are delegated the responsibility for providing legal advice

to Chicago Police Officers by the City of Chicago, among other things, were aware of

the circumstances of the misconduct described in this Complaint, including but not

limited to Defendants’ intoxication and their unjustified use of force against

Plaintiff, but they acted to suppress that misconduct and in so doing ensured that

false criminal charges would be filed against Plaintiff.

       133.   After the attack, the Officer Defendants returned to the offices of these

attorneys and, based upon information and belief, these attorneys offered the

intoxicated officers gum in order to cover the smell of alcohol. The incident was not

reported until a full hour had elapsed, during which time the Officer Defendants

remained in the offices of the Corporation Counsel.

       134.   For years, these policymaking officials for the City of Chicago stood

shoulder to shoulder with the Defendant Officers, helped to maintain the code of



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silence, and participated in the suppression of material evidence, despite the

ongoing violations of Plaintiff’s rights.

      135.   This misconduct was revealed in an investigation by the Office of the

Inspector General, and two attorneys resigned as a result.

      136.   The violations of Plaintiff’s rights continued even as this investigation

was taking place.

      137.   All of the misconduct described in this Complaint was undertaken

pursuant to the official policies of the City of Chicago described in this Count.

                             COUNT V – State Law Claim
                               Malicious Prosecution

      138.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      139.   In the manner described above, the Defendant Officers acting as

investigators, individually, jointly, or in conspiracy with one another, as well as

within the scope of their employment, accused Plaintiff of criminal activity and

exerted influence to initiate and to continue and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so and in spite of the fact that

they knew Plaintiff was innocent.

      140.   In so doing, these Defendants caused Plaintiff to be subjected

improperly to judicial proceedings for which there was no probable cause. These

judicial proceedings were instituted and continued maliciously, resulting in injury.

      141.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the


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rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      142.   As a result of the Defendants’ misconduct described in this Count,

Plaintiff suffered loss of liberty, great mental anguish, humiliation, degradation,

physical and emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

                           COUNT VI – State Law Claim
                     Intentional Infliction of Emotional Distress

      143.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      144.   The actions, omissions, and conduct of the Defendant Officers as set

forth above were extreme and outrageous. These actions were rooted in an abuse of

power and authority and were undertaken with the intent to cause, or were in

reckless disregard to the probability that their conduct would cause severe

emotional distress to Plaintiff, as is more fully alleged above.

      145.   As a direct and proximate result of the Defendant Officers’ actions,

Plaintiff suffered and continues to suffer emotional distress and other grievous and

continuing injuries and damages as set forth above.

                           COUNT VII – State Law Claim
                               Civil Conspiracy

      146.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      147.   As described more fully in the preceding paragraphs, the Defendant

Officers, acting in concert with other co-conspirators, known and unknown, reached



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an agreement among themselves to frame Plaintiff for a crime he did not commit

and conspired by concerted action to accomplish an unlawful purpose by an

unlawful means. In addition, these co-conspirators agreed among themselves to

protect one another from liability for depriving Plaintiff of these rights.

      148.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      149.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

      150.   As a result of the Defendants’ misconduct described in this Count,

Plaintiff suffered loss of liberty, great mental anguish, humiliation, degradation,

physical and emotional pain and suffering, and other grievous and continuing

injuries and damages as set forth above.

                          COUNT VIII – State Law Claim
     City of Chicago’s Breach of Duty in Retention, Supervision and Training –
                                    Negligence

      151.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      152.   The Defendant City of Chicago and its police department at all times

relevant had a duty to exercise due care in retaining, supervising and training its

police officers, including the Individual Defendants, in relation to their duties,

including the use of excessive force and other instances of misconduct investigated

by the Department.



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       153.   The Defendant City of Chicago and its police department breached

those duties by failing to exercise due care in retaining, supervising and training

officers who were involved, often repeatedly involved, in the use of excessive force

and other instances of misconduct investigated by the Department.

       154.   As a direct and proximate result of the City of Chicago’s failure to

exercise due care in retaining, supervising and training its officers, the Individual

Defendants violated Plaintiff’s constitutional rights, as described in detail

throughout this Complaint.

                           COUNT IX – State Law Claim
     City of Chicago’s Breach of Duty in Retention, Supervision and Training –
                            Willful and Wanton Conduct

       155.   Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

       156.   The City of Chicago and its police department at all times relevant had

a duty to refrain from willful and wanton retention, supervision and training of its

police officers.

       157.   The City of Chicago and its police department breached that duty by

engaging in willful and wanton conduct in retaining, supervising and training the

Individual Defendants.

       158.   As a direct and proximate result of the City of Chicago’s willful and

wanton conduct in retaining, supervising and training the Individual Defendants,

the Individual Defendants violated Plaintiff’s constitutional rights, as described in

detail throughout this Complaint.



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                               COUNT X – State Law Claim
                                  Respondeat Superior

      159.      Plaintiff incorporates each paragraph of this Complaint as if fully

restated here.

      160.      While committing the misconduct alleged in the preceding paragraphs,

the Defendants were employees, members, and agents of the Chicago Police

Department acting at all relevant times within the scope of their employment.

      161.      Defendant City of Chicago is liable as principal for all torts committed

by its agents.

                              COUNT XI – State Law Claim
                                  Indemnification

      162.      Each of the paragraphs of this Complaint is incorporated as if restated

fully herein.

      163.      Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities.

      164.      Defendant Officers are, or were, employees of the Chicago Police

Department, who acted within the scope of their employment in committing the

misconduct described above.

      165.      The City of Chicago is obligated to pay any judgment entered against

the Defendant Officers.

      WHEREFORE, Plaintiff JOSEPH BASKINS, respectfully requests that this

Court enter a judgment in his favor and against Defendants Patrick Gilmore,



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MICHAEL R. KELLY, MARK JAROCKI and the CITY OF CHICAGO, awarding

compensatory damages, attorneys’ fees and costs against each Defendant, punitive

damages against each of the individual Defendants and any other relief this Court

deems just and appropriate.

                                   JURY DEMAND

      Plaintiff, Joseph E. Baskins hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.


                                        RESPECTFULLY SUBMITTED,

                                        JOSEPH BASKINS

                                 By:    /s/ Josh Loevy
                                        Attorney for Joseph Baskins

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